Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 1 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 2 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 3 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 4 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 5 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 6 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 7 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 8 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 9 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 10 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 11 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 12 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 13 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 14 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 15 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 16 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 17 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 18 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 19 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 20 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 21 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 22 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 23 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 24 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 25 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 26 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 27 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 28 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 29 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 30 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 31 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 32 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 33 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 34 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 35 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 36 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 37 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 38 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 39 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 40 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 41 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 42 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 43 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 44 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 45 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 46 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 47 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 48 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 49 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 50 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 51 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 52 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 53 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 54 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 55 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 56 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 57 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 58 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 59 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 60 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 61 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 62 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 63 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 64 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 65 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 66 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 67 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 68 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 69 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 70 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 71 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 72 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 73 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 74 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 75 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 76 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 77 of 78
Case 1:22-cv-00734-GTS-CFH Document 48 Filed 08/31/22 Page 78 of 78
